78 F.3d 591
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.ALLIANCE GENERAL INSURANCE COMPANY, an Illinois Corporation,Plaintiff-Appellee,v.HENNESSEY'S TAVERN, INC., Defendant-Appellant,andTony Howard Jones;  Darren Sabo, Defendants.
    No. 94-56509.
    United States Court of Appeals, Ninth Circuit.
    Submitted Feb. 27, 1996.*Decided March 4, 1996.
    
      Before:  PREGERSON, CANBY, and HAWKINS, Circuit Judges.
      MEMORANDUM**
      Hennessey's Tavern, Inc. appeals the district court's summary judgment in favor of Alliance General Insurance Company and the order denying reconsideration, in Alliance's diversity action seeking a declaratory judgment that Alliance was not obligated to defend and indemnify Hennessey's in an underlying state court action.   Federal "[c]ourts should generally decline to assert jurisdiction in insurance coverage and other declaratory relief actions presenting only issues of state law during the pendency of parallel proceedings in state court."  American National Fire Insurance Co. v. Hungerford, 53 F.3d 1012, 1019 (9th Cir.1995) (citation and internal quotation marks omitted).   We conclude that there are no "circumstances present to warrant an exception to the general rule that the action belongs instate rather than federal court."  See Employers Reinsurance Corp. v. Karussos, 65 F.3d 796, 799 (9th Cir.1995) (citation and internal quotation marks omitted).   We therefore vacate the district court's grant of summary judgment and remand with instructions to dismiss Alliance's complaint.
      VACATED AND REMANDED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.   Fed.R.App.P. 34(a);  9th Cir.R. 34-4.   Accordingly, appellant's request for oral argument is denied
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    